     Case 2:18-cv-00257-TOR        ECF No. 116       filed 09/19/19     PageID.4797 Page 1 of 4



      Nicholas D. Thompson, VA 92821 (admitted Pro Hac Vice)
 1
      THE MOODY LAW FIRM
 2    500 Crawford Street, Suite 200
      Portsmouth, VA 23704
 3
      Phone: (757) 393-4093
 4    nthompson@moodyrrlaw.com
 5
      and
 6
      Joseph A. Grube, WA 26476
 7
      BRENEMAN GRUBE OREHOSKI, PLLC
 8    1200 Fifth Avenue, Suite 625
      Seattle, WA 98101
 9
      (206) 770-7606
10    joe@bgotrial.com
11
      ATTORNEYS FOR PLAINTIFF
12

13                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
14

15

16     LAWRENCE DARREN MOLDER,                                     NO. 2:18-CV-00257

17                                         Plaintiff,     PLAINTIFF’S OBJECTION TO
18                                                                 COSTS
       v.
19

20     BNSF RAILWAY CO.,

21                                      Defendant.
22

23                                             INTRODUCTION
24
             Before a party may recover costs for a obtaining a transcript, it must prove the
25
      transcript was necessarily obtained for use in the case. See 28 U.S.C. § 1920(2). Parties are
26
      required to prove the reasonableness of a transcript’s cost by demonstrating that the amount
      PLAINTIFF’S OBJECTION TO COSTS                                  THE MOODY LAW FIRM
                                                                      500 Crawford Street, Suite 200
      PAGE 1 OF 4                                                        Portsmouth, VA 23704
                                                                         Phone: (757) 393-4093
                                                                           Fax: (757) 393-7257
     Case 2:18-cv-00257-TOR         ECF No. 116      filed 09/19/19     PageID.4798 Page 2 of 4



      charged per page was within the amount allowed. See, e.g., O’Neal v. Altheimer & Gray, No.
 1
      99-cv-0976, 2002 U.S. Dist. LEXIS 17943, at *5 (N.D. Ill. Sep. 18, 2002) (“For instances
 2

 3    where the invoice lists no total number of pages transcribed, the court cannot determine if the

 4    charges are within the Judicial Conference guidelines, thus they are denied.”).
 5           Here, Defendant BNSF Railway Co. seeks to tax $3,765.35 against Plaintiff Darren
 6
      Molder for deposition transcripts. (Bill of Costs (Dkt. 115) at 1.) For the below-discussed
 7
      reasons, $1,027.95 of this amount cannot be properly taxed against Molder. Only $2,737.40
 8
      should therefore be taxed against Molder for deposition transcripts.
 9

10                                            ARGUMENT

11           BNSF seeks $234 for R. Bishop’s deposition transcript, $219.60 for Borsheim’s

12    deposition transcript, $292.20 for Dirks’s deposition transcript, $164.15 for Pruitt’s deposition
13    transcript, and $115 for Stiver’s deposition transcript. (R. Bishop Receipt (Dkt. 115 at 10 of
14
      11); Borsheim Receipt (Dkt 115 at 8 of 11); Dirks’s Receipt (Dkt 115 at 7-11); Montgomery
15
      Scarp and Chait Slip List (Dkt. 115 at 3).) For summary judgment, BNSF cited to none of
16
      these transcripts. (Def. Summ. J. Br. (Dkt. 32); Def. Summ. J. Reply Br. (Dkt. 71).) It is
17

18    therefore not entitled to recover costs for them. See, e.g., O’Neal, 2002 U.S. Dist. LEXIS

19    17943, at *5.

20                                           CONCLUSION
21
             BNSF is not entitled to costs for deposition transcripts to which it did not cite. Of the
22
      $3,765.35 BNSF seeks for deposition transcripts, $1,027.95 is for transcripts of depositions to
23
      which BNSF did not cite. Only $2,737.40 should therefore be taxed against Molder for
24
      deposition transcripts.
25

26

      PLAINTIFF’S OBJECTION TO COSTS                                  THE MOODY LAW FIRM
                                                                      500 Crawford Street, Suite 200
      PAGE 2 OF 4                                                        Portsmouth, VA 23704
                                                                         Phone: (757) 393-4093
                                                                           Fax: (757) 393-7257
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                                             THE MOODY LAW FIRM
 1
      Dated: September 19, 2019
 2                                           /s/ Nicholas D. Thompson
                                             Nicholas D. Thompson (admitted pro hac)
 3
                                             500 Crawford Street, Suite 200
 4                                           Portsmouth, VA 23704
                                             (757) 393-4093 – Telephone
 5
                                             (757) 397-7257 - Facsimile
 6                                           nthompson@moodyrrlaw.com
 7
                                             Joseph A. Grube, WSBA #26476
 8                                           BRENEMAN GRUBE
                                             OREHOSKI, PLLC
 9
                                             1200 Fifth Avenue, Suite 625
10                                           Seattle, WA 98101
11
                                             (206) 770-7606
                                             joe@bgotrial.com
12

13
                                             Counsel for Plaintiff

14
                              CERTIFICATE OF SERVICE
15
            I am over the age of 18 and not a party to this action. I am an attorney
16    with The Moody Law Firm, Inc., whose address is 500 Crawford Street, Suite
17    200, Portsmouth, VA 23704.

18           I hereby certify that a true and complete copy of PLAINTIFF’S
19    OBJECTION TO COSTS has been filed with the United State District Court via
20    ECF system, which gives automatic notification to the following interested
      parties:
21

22           Michael E. Chait
             Montgomery Scarp & Chait PLLC
23
             1218 3rd Avenue
24           Suite 2500
             Seattle, WA 98101
25
             mike@montgomeryscarp.com
26
             Attorney for Defendant
      PLAINTIFF’S OBJECTION TO COSTS                           THE MOODY LAW FIRM
                                                               500 Crawford Street, Suite 200
      PAGE 3 OF 4                                                 Portsmouth, VA 23704
                                                                  Phone: (757) 393-4093
                                                                    Fax: (757) 393-7257
     Case 2:18-cv-00257-TOR    ECF No. 116   filed 09/19/19     PageID.4800 Page 4 of 4




 1
             I declare under penalty under the laws of the United States of America
 2    that the foregoing information is true and correct.
 3
             Dated: September 19, 2019
 4
                                                  /s/ Nicholas D. Thompson
 5

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      PLAINTIFF’S OBJECTION TO COSTS                          THE MOODY LAW FIRM
                                                              500 Crawford Street, Suite 200
      PAGE 4 OF 4                                                Portsmouth, VA 23704
                                                                 Phone: (757) 393-4093
                                                                   Fax: (757) 393-7257
